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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION



KRS PROPERTIES, LLC AND WEST  §
WHARTON HOSPITAL DISTRICT     §
                              §
V.                            §                     CASE NO. 4:24-CV-00337
                              §
UNITED STATES DEPARTMENT OF §
HEALTH & HUMAN SERVICES,      §
CENTERS FOR MEDICARE &        §
MEDICAID SERVICES, THROUGH    §
ITS SECRETARY, XAVIER BECERRA §

                      ORDER GRANTING EMERGENCY HEARING

       The Court has considered Plaintiffs’ Request for Emergency Hearing on their request for

a Temporary Restraining Order, and the Court finds that such a hearing is necessary. It is,

therefore,

       ORDERED that Plaintiff’s Request for Temporary Restraining Order is set for hearing on

_________________________ at ____________am/pm

       SIGNED this _____ day of _______________________, 2024.



                                             ___________________________________
                                             HON. REED O’CONNOR
                                             JUDGE PRESIDING
